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AO 245B       (Rev. 09/11) Judgment in a Criminal Case
              Sheet I



                                           UNITED STATES DISTRICT COURT
                                                         MIDDLE DISTRICT OF ALABAMA

             UNITED STATES OF AMERICA                                            JUDGMENT IN A CRIMINAL CASE
                                   V.                                                (WO)

                    YUMEITRIUS MANUEL                                            Case Number: 2:1 1cr134-MEF-01

                                                                         )       USM Number: 13625-002
                                                                         )
                                                                         )        Laronda Renee Martin
                                                                                 Defendant's Attorney
THE DEFENDANT:
   pleaded guilty to count(s)           One and Eleven of the Indictment on 1/11/2012
E pleaded nolo contendere to count(s)
  which was accepted by the court.
0 was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                       Offense Ended               Count

 18286                              Conspiracy to Defraud the Government with Respects to                   01/11/2012                  1
                                    Claims
 1 8 1 028(a)( 1), (c)(5)           Aggravated Identity Theft                                               01/11/2012                  11
 and 2


D Sec additional count(s) on page 2

      The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.
0 The defendant has been found not guilty on count(s)

   Count(s) 2-4, 6-10,12-15 of the Ind                     0 is -.      dismissed on the motion of the United States.

         It is ordered that the defendant mist notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all lines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                         8/8/2012
                                                                         Date of Imposition of Judgment




                                                                         Signature of Judge
                                                                                                (
                                                                         Mark E. Fuller, United States District Judge
                                                                         Name of Judge                               Title of Judge


                                                                                            15 ,ku&r
                                                                         Date
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AO 245B         (Rev. 09/11) Judgment in a Criminal Case
VI              Sheet 2 - Imprisonment

                                                                                                                       Judgment Page: 2 of 6
     DEFENDANT: YTJMEITR1US MANUEL
     CASE NUMBER: 2:11cr134-MEF-01


                                                                   IMPRISONMENT

              The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
     total term of:
     Eighty One (81) Months. This term consists of 57 months on count one and 24 months on count 11, to be served
     consecutively.



         Wf The court makes the following recommendations to the Bureau of Prisons:

     The Court recommends that Defendant be designated to a facility as near Montgomery, AL as possible, that defendant be
     placed in a facility within the BOP that can provide the ongoing medical care for the surgery that he received this past
     February and where he can receive the benefits of any educational and vocational program available through BOP.

         El The defendant is remanded to the custody of the United States Marshal.

         LI The defendant shall surrender to the United States Marshal for this district:

             LI at                    ______               LI am. LI p.m. on

             LI as notified by the United States Marshal.

             The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                  before 2:00           on                 10/11/2012

             LI as notified by the United States Marshal.

             LI as notified by the Probation or Pretrial Services Office.



                                                                         RETURN
     I have executed this judgment as follows:




             Defendant delivered on                                                             to

     a                                                       with a certified copy of this judgment.



                                                                                                          UNITED STATES MARSHAL


                                                                                 By
                                                                                                       DEPUTY UNITED STATES MARSHAL
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AO 245B        (Rev. 09/11) Judgment in a Criminal Case
v              Sheet 3 —Supervised Release

 DEFENDANT: YUMEITRIUS MANUEL                                                                                             Judgment Page: 3 of 6
 CASE NUMBER: 2:1 1cr134-MEF-01
                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 3 Years. This term consists of 3 years on count one and one year on count 11, to be served concurrently.


          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
           The defendant shall not commit another federal, state or local crime.
          The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
 substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
 thereafter, as determined by the court.
 D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, ((applicable.)

        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, ((applicable)
        The defendant shall cooperate in the collection of DNA as directed by the probation officer. Check, if

        The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, el seq.)
        as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
        works, is a student, or was convicted of a qua1if'ing offense. (Check, if

 El The defendant shall participate in an approved program for domestic violence. (Check, ((applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
           The defendant must comply with the standard conditions that ha'e been adopted by this court as well as with any additional conditions
 on the attached page.

                                           STANDARD CONDITIONS OF SUPERVISION
   1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so -by the probation officer;
  30) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
        contraband observed in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcennt officer;
  12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcemnt agency without the
          permission of the court; and

  13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
          record or ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirmthe
          defendant s compliance with such notification requirement.
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AO 245B        (Rev. 09/I1) Judgment in a Criminal Case
vi             Sheet 3C - Supervised Release

                                                                                                             Judgment Page: 4 of 6
 DEFENDANT: YUMEITRIUS MANUEL
 CASE NUMBER: 2:1 1cr134-MEF-01

                                             SPECIAL CONDITIONS OF SUPERVISION
     1) The defendant shall participate in a program approved by the United States Probation Office for substance abuse,
     which may include testing to determine whether the defendant has reverted to the use of illegal drugs. The defendant shall
     contribute to the cost of any treatment based on ability to pay and the availability of third-party payments.

     2) The defendant shall submit to a search of his person, residence, office and vehicle pursuant to the search policy of this
     court.

     3) The defendant shall provide the probation officer any requested financial information.

     4) The defendant shall not incur new credit charges or open additional lines of credit without approval of the Court unless
     in compliance with the payment schedule.

     5) The defendant shall be subject to occupational restrictions. Defendant shall not obtain employment in any capacity in
     which he has access to personal or confidential information of others without approval of the USPO and your employer.
     Additionally, defendant shall refrain from filing any federal or state income tax returns other than for himself, his spouse or
     his children.
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AO 245B        (Rev. 09/11) Judgment in a Criminal Case
V1              Sheet 5 —Criminal Monetary Penalties

                                                                                                                     Judgment Page: 5 of 6
     DEFENDANT: YUMEITRIUS MANUEL
     CASE NUMBER: 2:1 1cr134-MEF-01
                                                  CRIMINAL MONETARY PENALTIES
        The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                                      Fine                                Restitution
 TOTALS              $ 200.00                                         $ 0.00                              $ $52,242.62


 El The determination of restitution is deferred until                   - An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 it The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
       the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
       before the United States is paid.

 Name of Payee                                                      Total Loss*              Restitution Ordered Priority or Percent ag e

     IRS-RACS
     ATTENTION: Mail Stop 6261, Restitution                                                             $52,242.62
     333 West Pershing Avenue
     Kansas City, Missouri 64108




 TOTALS                                                                             $0.00               $52,242.62


 El Restitution amount ordered pursuant to plea agreement $

 LI The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

        The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        Vthe interest requirement is waived for the           0 fine I( restitution.

        LI the interest requirement for the          LI fine LI restitution is modified as follows:



 * Findings for the total amount of losses are required under Chaiters 109A, 110, 11 OA, and 11 3A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
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AO 245B       (Rev. 09/11) Judgment in a Criminal Case
VI            Sheet 6— Schedule of Payments
                                Judgment Page: 6 of 6
 DEFENDANT: YUMEITRIUS MANUEL
 CASE NUMBER: 2:1 1cr134-MEF-0l


                                                          SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A          Lump sum payment of$ 52,442.62                       due immediately, balance due

            0 not later than                                         , or
              " in accordance             EJ C,          11 D,   J     E, or   EF below; or

 B D Payment to begin immediately (may be combined with El C,                             D, or 0 F below); or

 C M Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $_____________ over a period of
                  (e.g., months or years), to commence                                                      e date of this judgment; or
                                                                              (e.g., 30 or 60 days) after th_

 D    M Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                          over a period of
        -               (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

 E          Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F        " Special instructions regarding the payment of criminal monetary penalties:
             All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
             Office Box 711, Montgomery, Alabama 36101. Any balance of restitution at the start of supervision shall be paid at a rate of
             not less than $150.00 per month.



 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All crimnal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




      Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.

       Yumeitrius Manuel           2:11cr134-MEF-01 Total: $52,242.62 JS $52,242.62                        Payee: IRS-RACS
       Margaret Kirksey            2:1 1cr134-MEF-02 Total: $52,242.62 JS $52,242.62                       Payee: IRS-RACS


 0 The defendant shall pay the cost of prosecution.

 0 The defendant shall pay the following court cost(s):

 0 The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order:() assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
